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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                  )
DEMETRIUS JOHNSON,                )
                                  )              Case No. 20-cv-4156
       Plaintiff,                 )
                                  )              Judge Sara L. Ellis
       v.                         )
                                  )              Magistrate Judge Heather K. McShain
REYNALDO GUEVARA, the ESTATE of   )
ERNEST HALVERSON, DARRYL DALEY, )
WILLIAM ERICKSON, JOHN HEALY, and )
the CITY OF CHICAGO               )
                                  )              JURY TRIAL DEMANDED
       Defendants.                )




                             EXHIBIT 1
    PLAINTIFF’S CONSOLIDATED RESPONSE IN
     OPPOSITION TO DEFENDANTS’ MOTIONS
       REGARDING SUMMARY JUDGMENT
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                          )
 DEMETRIUS JOHNSON,                       )
                                          )        Case No. 20 cv 4156
             Plaintiff,                   )
                                          )        Judge Sara L. Ellis
             v.                           )
                                          )        Magistrate Judge Heather K. McShain
 REYNALDO GUEVARA, the ESTATE of          )
 ERNEST HALVERSON, DARRYL DALEY,          )
 WILLIAM ERICKSON, JOHN HEALY, and        )
 the CITY OF CHICAGO                      )
                                          )        JURY TRIAL DEMANDED
             Defendants.                  )




              PLAINTIFF’S CONSOLIDATED RESPONSE IN
OPPOSITION TO DEFENDANTS’ MOTIONS REGARDING SUMMARY JUDGMENT




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       Plaintiff, DEMETRIUS JOHNSON, by his attorneys, responds in opposition to the

individual Defendants’ motion for an extension of time, Dkt. 290, and the City of Chicago’s

motion to deem facts admitted at summary judgment, Dkt. 292, stating as follows:

                                        INTRODUCTION

       One week before the final and already thrice-extended deadline for summary judgment

filings in this case, Defendants have filed motions asking the Court for relief that is plainly not

warranted. Defendants’ consistent efforts to delay resolution of this case should not be rewarded.

Defendants have caused repeated delays in moving this case to trial, and they have now

engineered a situation where it is impossible for them to comply with the Court’s Standing Order

and the Rules governing summary judgment before filing a summary judgment motion by the

Court’s final deadline. Had Plaintiff engaged in the same behavior, his option to move for

summary judgment would be off the table. The same should be true for Defendants.

       Meanwhile, despite Defendants’ delays, Plaintiff has worked tirelessly to respond quickly

and substantively to Defendants’ proposed statements of fact, providing detailed comments,

additions, corrections, and objections. Indeed, since Defendants first sent their proposed facts

late in the afternoon of the last business day before the Christmas holiday, the City has not

engaged whatsoever in providing a substantive response to Plaintiff’s contributions to the joint

statement of facts. Plaintiff’s contributions comply with the Court’s Standing Order and the

Local Rules, and the City’s arguments otherwise lack merit. This Court should deny the City’s

request that its facts be deemed admitted because the City has not engaged at all in the process

and has instead simply run out the clock.

       Finally, as Plaintiff has stressed repeatedly, this is not a summary judgment case for any

of Defendants on any claim. Plaintiff already moved for summary judgment against Defendant




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Guevara. Dkt. 210. That motion was denied, Dkt. 273, and the disputes of fact that the Court

found warranted a trial persist today and preclude a motion for summary judgment brought by

the other side. Even if there had not been a summary judgment decision already, there are

numerous material disputes of fact about the individual Defendants’ liability for Plaintiff’s

wrongful conviction, as the individual Defendants’ proposed joint statement of facts shows.

       For its part, the City’s effort to move for summary judgment is frivolous. The City has

lost the Monell theories at issue in this case in at least two recent federal jury trials and has been

precluded from litigating them in at least one; those decisions have been affirmed post-judgment

by multiple district judges and have been affirmed by the Seventh Circuit. Even if it were not

precluded, there is no universe in which the City can establish there is no material dispute of fact

on these Monell theories. This is the reason that Plaintiff offered a compromise to narrow the

case and avoid the need for exhaustive summary judgment proceedings.

       The Court should deny Defendants’ motions and either proceed to trial in this case or

order Defendants to rely on only the actually agreed material facts, and file their summary

judgment motions on the January 31 final deadline set by the Court.

                                           DISCUSSION

A.     Defendants’ Repeated Delays Should Not Be Rewarded

       Defendants have repeatedly delayed summary judgment in this case. In November 2023,

this Court granted a final extension of their deadline to file summary judgment motions. Then,

Defendants delayed again, and now find themselves in a position of their own creation, where

they cannot timely file their motion for summary judgment in compliance with this Court’s

procedures. This Court’s Standing Order provides, “Parties should provide the Court with

sufficient time to rule on factual disputes before summary judgment motions are due.”




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Defendants have not done that, and they should not be granted an additional extension beyond

the final extension. At some point, Defendants’ persistent delays and efforts to help themselves

to extensions to delay resolution of this case should be reigned in, to ensure actual compliance

with the Court’s orders, and to prevent any further prejudice to Plaintiff, who waits anxiously for

his day in court.

       The procedural history is set out in detail in Plaintiff’s response to Defendants’ last

motion for an extension of time. Dkt. 286. To recap, fact discovery closed in December 2022. In

January 2023, the Court set an expert and summary judgment schedule, making Defendants’

motions due August 28, 2023. Defendants first moved to extend that deadline on May 1, 2023,

Dkt. 244, and for a second time on May 26, 2023, Dkt. 255, and this Court granted both motions,

ultimately setting November 3, 2023, as the summary judgment deadline. Dkts. 246 & 258. At

that point, Defendants had 11 months from the close of fact discovery and six months from the

completion of Plaintiff’s experts’ depositions to draft and file motions for summary judgment.

       Starting in August 2023, Plaintiff corresponded with Defendants at length about (a)

narrowing the parties and claims for summary judgment, (b) Plaintiff’s view that summary

judgment is not warranted in this case, and (c) Defendants’ draft of the proposed joint statements

of fact necessary to comply with the Court’s Standing Order. Plaintiff asked for Defendants’

proposed statements of fact repeatedly at the end of October 2023, but he never received a draft

of a joint statement of facts, despite the November 3, 2023 deadline for Defendants’ motion for

summary judgment.

       Instead, on November 3—the day their summary judgment motions were due—and

without conferring with Plaintiff, Defendants moved for a third extension of time to file their

motions for summary judgment, representing to the Court that they needed a modest amount of




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time to complete the summary judgment process. Dkt. 283. Plaintiff opposed the motion

strenuously. Dkt. 286. The Court granted Defendants a third and final extension, setting January

31, 2024, as the due date for summary judgment motions. Dkt. 288. During the hearing on that

motion, Plaintiff expressed concern that Defendants were perpetually delaying resolution of the

case, and the Court made clear that January 31, 2024 was the final deadline.

       But Defendants’ delay continued after that ruling. Instead of promptly providing Plaintiff

with a proposed joint statement of facts in response to his requests or engaging with Plaintiff in

further efforts to narrow the case at summary judgment, Defendants did not contact Plaintiff at

all. Instead, late in the afternoon of Friday, December 22, 2023, the last business day before the

Christmas holiday, Defendants sent two separate proposed joint statements of fact—one from the

City and one from the individual Defendants—which totaled 296 paragraphs. Defendants

provided these proposed facts more than two months after Plaintiff began requesting them, more

than five weeks after the Court granted their third extension of time, and right before Christmas

Eve. Plaintiff’s counsel were out with their families between Christmas and New Year’s Day and

their office was closed.

       On January 2, 2024, Plaintiff’s counsel began the process of responding to Defendants’

proposed facts. Just two weeks later, on January 16 and 17, Plaintiff provided detailed responses

to the City and individual Defendants, respectively. Contrary to the City’s statement that Plaintiff

did not provide the City with any exhibits, see Dkt. 292-1, Mot. at 9, Plaintiff attached all

exhibits to its correspondence with the City. See Dkt. 292-3 (Jan. 17, 2023 Email

Correspondence, at 9-10). Still there was time to reach agreement on the joint statements of fact.

On January 19, the individual Defendants provided a second round of responses to Plaintiff’s

additions, edits, and objections to that joint statement of facts. Plaintiff responded promptly again




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on January 22. The individual Defendants sent another version on January 22, 2024, about which

the parties conferred. Plaintiff committed to providing another response on January 23, 2024,

which would have resolved the issues.

       The City, by contrast, did nothing with Plaintiff’s additions, edits, and objections to the

City’s proposed statement of facts. Instead, at the end of the day on Friday, January 19, the City

sent a letter to Plaintiff, complaining that Plaintiff’s edits and objections did not comply with the

Rules. The letter did not contain any substantive response to any of the edits, additions,

comments, or objections that Plaintiff had spent two weeks on. It simply demanded that Plaintiff

do another draft.

        Plaintiff responded on Monday, January 22, with a detailed letter. Exhibit A (Jan. 22,

2024 Letter from Plaintiff’s Counsel). Plaintiff explained his position about the timing and

explained that he had complied with this Court’s Standing Orders and the Local Rules. In the

interest of not further delaying the case, Plaintiff proposed a number of compromises to narrow

disputes and responded to particular complaints that the City identified. On the same day,

Plaintiff provided a second round of additions, edits, and objections to the City, even though the

City still had not responded to the first. See Exhibit B (Plaintiff’s Second Revised JSOF with

City); Exhibit C (Jan. 22, 2024 Correspondence from Gould to the City).

       Still, the City did not engage substantively with Plaintiff’s draft. Instead, on January 22,

the City and Plaintiff met and conferred. The City admitted that it had not looked at Plaintiff’s

draft, said that conferring was pointless, and continued to suggest that Plaintiff was violating the

Rules (even though the City had not read the draft). The City rejected wholesale Plaintiff’s

proposed compromises within its letter and stated its intention to file this motion instead. In

response, Plaintiff again explained his position, and he asked the City to engage substantively in




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the process of reaching agreement on a joint statement of facts. Instead of doing so, Defendants

filed their motion. As of the date of this filing, Plaintiff still has not received any substantive

response to his edits and comments on the City’s joint statement of facts. 1

        Defendants have engaged in months of delay at summary judgment in this case. This

Court already granted them a final extension of time to file a motion. Yet for months, they failed

to provide a proposed joint statement of fact, defying this Court’s Standing Order that parties

exchange and identify disputes of fact far in advance of summary judgment and with enough

time for the Court to consider disputes. Indeed, by providing first drafts of lengthy joint

statements of fact on the eve of the Christmas holiday, four weeks before their motions were due,

they all but ensured that there would not be sufficient time for the Court to rule on any disputes.

They then refused to engage in the process of responding to Plaintiff's edits to those joint

statements when Plaintiff’s counsel moved heaven and earth to turn around responses in two

weeks. Instead, Defendants now complain that it took Plaintiff two weeks to respond to almost

three hundred paragraphs of facts (most of which are clearly disputed), despite Defendants

having taken eleven months since the close of fact discovery to draft a joint statement of facts.




         1 Compare Defendants’ approach to that taken by Plaintiff when Plaintiff moved for summary
judgment, where the joint statement of facts was provided to Defendants months in advance, and then
Defendants delayed responding. In July 2022, Plaintiff notified Defendants of his intention to file a
motion for partial summary judgment against Defendant Guevara on his Brady claim. Dkt. 164-1.
Plaintiff’s letter included a 53-paragraph proposed joint statement of facts per this Court’s rules. Id. In
August 2022, counsel for all parties participated in a phone conference in which Defendants refused to
confer on the proposed joint statement of facts. The briefing schedule was pushed back repeatedly as the
result of Defendants’ delays in responding to Plaintiff’s proposed joint statement of facts. Dkt. 223. Due
to those delays, Plaintiff was not able to file his partial motion for summary judgment until February 21,
2023—more than seven months after he first sent his proposed joint statement of facts to Defendants.
Dkt. 210.


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       Plaintiff is entitled to his day in Court. This Court is entitled to compliance with its

Standing Orders. And Defendants cannot be allowed to continually delay the resolution of this

case. For that reason alone, this Court should deny Defendants’ motions and set the case for trial.

B.     Plaintiff’s Exhaustive Efforts to Respond Quickly, Substantively, and Repeatedly to
       Defendants’ Proposed Joint Statements of Fact

       The Court should also reject Defendants’ contentions that Plaintiff has not engaged in the

joint statement process in good faith. Plaintiff has complied with this Court’s Standing Orders

and the Local Rules; he has provided fulsome explanations of his edits and objections to the

proposed joint statements, which are supported by identified evidence; and he has done so

quickly and thoroughly. Defendants’ arguments otherwise lack merit.

           1. Plaintiff’s Contributions to the City’s Proposed Undisputed Facts

       The City provided 164 proposed agreed facts regarding the Monell claim. Plaintiff’s

initial review of Defendants’ facts confirmed one thing: that most facts on summary judgment

related to Plaintiff’s Monell claims are hotly disputed. In fact, a sizable portion of the City’s

proposed agreed facts appear to have been copied and pasted from the City’s affirmative

statement of facts submitted in support of its motion for summary judgment in Rivera v.

Guevara, No. 12 C 4428 (N.D. Ill.), a case in which the same Monell theories at issue here were

tried to a jury, resulting in a Monell verdict against the City. That was startling. The City knows

that those facts were hotly contested in Rivera, and that the Court there denied summary

judgment to the City, after which the City lost at trial, which was affirmed in the denial of its

post-trial motion. The City had therefore submitted a first draft of facts that it knew for certain

was contested in every respect. Still, the City’s proposed facts went to great lengths to

characterize these disputed facts as undisputed, which required serious attention to detail and

significant modifications to most offered facts.



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         As previously stated, Plaintiff provided those significant edits to the City’s already-

lengthy document on January 17, 2024. See Ex. D (First Revised JSOF to City). After the City

responded without substantive comments but instead with a letter, Plaintiff still went to great

lengths to reach compromise, addressing the issues that the City identified in its letter, and

making proposals for narrowing disputes. Ex. A (Jan. 22, 2024 Letter to City). In particular, in

response to the City’s complaint about paragraphs being removed without explanation, Plaintiff

recognized that the problem was a formatting issue, and he reformatted the document so that the

City could see his objections below the paragraphs (instead of in comments in the margins). Ex.

B (Second Revised JSOF to City). In addition, Plaintiff provided additional details supporting

objections and additional edits where the City had misquoted evidentiary sources. Id. Moreover,

following the parties’ meet and confer yesterday, still endeavoring to provide the City with clear

objections so that it could finally respond substantively to Plaintiff’s edits and modifications,

Plaintiff again provided a revision to paragraphs specifically identified during the call as lacking

detail. See Exhibit E (Jan. 22, 2024 Correspondence from S. Art to City); Exhibit F (Third

Revised JSOF to City). 2

         Plaintiff is frankly surprised at the City’s response to his detailed effort to create a final

product in the face of Defendants’ delay. Plaintiff has repeatedly attempted to compromise and

provide detail and explanation in response to the City’s initial submission, letter, and meet and

confer, all without any substantive response from the City. Plaintiff has gone to great lengths to

provide the City with all of the clarity it has requested, and is now met with accusations that his

response to the City is a move to “sabotage” the City’s ability to respond.


2 For each of its three revisions to the City’s proposed undisputed facts, Plaintiff has included (1) the track change
version and (2) a clean version of the revisions for the Court’s review. Both versions are included in the exhibit
referencing that revision. See Exhibits D (First Revised JSOF), B (Second Revised JSOF), and F (Third Revised
JSOF).


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        An examination of Plaintiff’s contributions to the City’s joint statement of facts

demonstrates that the City’s complaints are without basis, and that the City merely hopes to

delay resolution of summary judgment. Specifically, in an effort to respond comprehensively to

the 164 paragraphs contained in the City’s initial proposed statement of undisputed facts,

Plaintiff took four steps:

        First, Plaintiff provided additional context where the City quoted a document for

the purpose of setting out an agreed fact, but the proposed agreed fact was materially

incomplete. For instance, the City quoted only the first sentence of a lengthy two-page portion

of Plaintiff’s interrogatory response regarding Plaintiff’s “eyewitness identification Monell

theory,” see Ex. B (Second Revised JSOF), at p. 24, ¶ 10, and one sentence out of over four

pages included in Plaintiff’s interrogatory responses to explain Plaintiff’s “street files” Monell

theory—of an overall twelve-page response to the City’s Interrogatory No. 2. See Ex. B at p.24-

25, ¶ 11; see also Exhibit G (Plaintiff’s Resp. to Def. City of Chicago’s First Set of Inter.).

Defendants then stated that Plaintiff did not supplement his Responses to these interrogatories.

Ex. B at p. 30, ¶ 17. The City’s purpose was to narrow the scope of Plaintiff’s Monell theories in

the case by referencing documents selectively that the City claimed gave it notice of the Monell

claims at issue in the case, as the City routinely does at summary judgment. But the City was

incorrect about the scope of the Monell theories, and Plaintiff’s interrogatory response explained

the actual breadth of those theories in detail. Accordingly, Plaintiff added the missing content to

the City’s proposed excerpt of the evidentiary source and proposed it as an agreed fact. Ex. B at

p. 7-16, ¶ 2. When Defendants complained about the length, Plaintiff proposed as a compromise

that he would agree to remove citation to full interrogatory responses if the City agreed to

remove its selective citation of them. The City refused.




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       Defendants cannot rely on an evidentiary source to try to narrow the claims in the case on

which they are trying to obtain summary judgment before trial, and then complain when Plaintiff

adds the missing context from the same evidentiary source, showing that the claims are not so

narrow. Defendants argued that they can use this admission of a party opponent at summary

judgment but Plaintiff cannot, Fed. R. Evid. 801(d)(2), but that does not mean that they can

selectively quote it to create a jointly agreed fact that is in fact contradicted by the document they

are quoting and not agreed.

       Another form of this deficiency whereby the City excludes relevant evidence and then

objects to its addition by Plaintiff can be found in Defendants’ selective citation of deposition

testimony regarding the definition of “street files,” a key concept for Plaintiff’s Monell claims.

Defendants only cited to the 2014 testimony of its Rule 30(b)(6) representative James Hickey,

who stated that “street files,” or “working files,” or “running files” were manila folders

containing “photocopies of reports, criminal history statements, photographs, mugshots and

memorandums requesting assistance on investigations.” Ex. B, Second Revised JSOF, at p. 32, ¶

21 (original text in black). However, this description is incomplete and disputed, as the City

knows well from prior trials on this very issue. So, Plaintiff provided additional facts, supported

by evidence, providing the fuller context of what comprises street files. See Ex. B, Second

Revised JSOF, at ¶ 21 (in track changes). The City has not responded to Plaintiff’s objection.

       Other non-exhaustive examples where Plaintiff provides context for materially

incomplete proposed facts includes the following, found in the track changes of Exhibit B,

Second Revised JSOF: p. 1-6, ¶ 1 (the City cites excerpts of Plaintiff’s complaint to encapsulate

Plaintiff’s Monell claims, so Plaintiff reproduces the accurate and complete allegations in

Plaintiff’s complaint); p.49, ¶ 59 (The City cites excerpts of unrelated deposition testimony to




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limit Tiderington’s criticisms of CPD’s policies and practices concerning the documentation and

disclosure of information learned during homicide investigations into “two global criticisms,” so

Plaintiff includes the accurate scope of his criticisms as stated in Tiderington’s expert report); p.

70-71, ¶ 117 (The City claims that “there is no column in the [relevant] spreadsheet that says

failure to document,” ignoring all of the columns in the spreadsheet related to a failure to

document steps, which Plaintiff provides in full).

       Second, Plaintiff corrected incorrect quotations and incorrect summaries of

evidence provided by the City that were not an accurate reflection of the evidence that the

City cited. This occurred in significant part in the sections containing Defendants’ inaccurate

summaries of the testimony of Plaintiff’s expert witnesses. For instance, Defendants offered as

an agreed fact that:

               The evidence upon which Tiderington relies in support of his opinion that police
               officers were treating notes as their personal property is the fact that “there were
               no notes on investigations that you would reasonably expect to see notes and that
               many files were void of notes as well.” (Ex. 6, Tiderington Dep from
               Solache/Reyes dated 10/6/22, 494:10-24).

Ex. B, Second Revised JSOF, at p. 75-76, ¶ 128 (original text in black).

       There are many problematic issues with this citation, including that this testimony from

Tiderington’s deposition in Solache/Reyes (a different case) is not a complete summary of his

opinions in this case, which are encompassed in Tiderington’s expert report. Plaintiff therefore

provided a fuller context to Tiderington’s opinion to arrive at a proposed agreed fact, adding

Tiderington’s reliance on and review of (a) historical evidence of police officers’ treatment of

notes as personal property, (b) observations in this litigation that multiple, separate investigative

files were maintained, (c) review of prior testimony from CPD designee Hickey regarding

detectives’ confusion about how personal notes had to be retained, and (d) evidence that




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handwritten notes are still routinely used but were not included in GPRs. (See Ex. B, Second

Revised JSOF at p. 75-76, ¶ 128 (in track changes, and omitting citations)). The City has not

responded to Plaintiff’s objection.

        Other examples where the City misquoted or selectively misstates documents and

testimony include but are not limited to the following, as seen in the track changes of Exhibit B,

Second Revised JSOF: p. 37, ¶ 31 (Defendant misquotes General Order 88-18, and Plaintiff’s

edits correct the deficiency, as noted in its objection); p. 38, ¶ 32 (the City provided an

incomplete quotation of General Order 88-18, and Plaintiff's edits correct the deficiency, as

noted in its objection); p. 78-79, ¶ 133 (the City’s proposed agreed fact states that Tiderington’s

report “assumes the redacted document are not police documents,” when in reality Tiderington

testified that he did not recall specifically being told that redactions were made only of redacted

privileged information and not police reports, but believes he was told to operate under that

assumption); p. 82-83, ¶ 145 (The City selectively provides only one statement from

Tiderington’s testimony speaking to what “withheld” means, when two were available in that

deposition, and Plaintiff provides the second statement); p. 83-92, ¶¶146, 156-157, 160, 163, 166

(the City selectively quotes from Tiderington’s review of the Kim Mathis, Ardell Clemons,

Oscar Soto, Leon Fields, and Guy Rainey cases, and Plaintiff provides the rest of the review for

accuracy); p. 104, ¶ 199 (the City provided an incomplete quotation of Dr. Steblay’s report, and

Plaintiff provided the first half of the quote); p. 118, ¶ 218 (the City misstates Dr. Steblay’s

statistical analysis, and Plaintiff reproduces the portion of the analysis in full); p. 120, ¶ 222 (The

City claims that “Steblay does not know if the 11 field studies exclusively relied on homicide

cases,” which is an inaccurate summary of her testimony, so Plaintiff quoted that testimony

directly).




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        Third, Plaintiff added proposed agreed material facts on which Plaintiff will contend

that he is entitled to summary judgment on particular Monell theories against the City.

Plaintiff also added undisputed facts about the fact that the City has tried and lost multiple

federal trials on the same Monell claims at issue in this case. Plaintiff will rely on these additions

in support of his forthcoming motion that the City is precluded from re-litigating its Monell

liability, and, separately, that the City cannot create a triable dispute of fact that its policies

governing police file keeping were facially deficient at the relevant time.

        These paragraphs added by Plaintiff are beyond dispute. They concern the theories

litigated, instructions given, judgments entered, post-trial motions denied, etc., in litigation in

which the City was found liable, including Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.), Fields

v. City of Chicago, No. 10 C 1168 (N.D. Ill.), Palmer v. City of Chicago, 562 F. Supp. 1067

(N.D. Ill.), and Jones v. City of Chicago, No. 87 C 2536 (N.D. Ill.). In support, Plaintiff provided

the specific exhibits that supported each paragraph that he added. These past Court documents

and judgments are certainly admissible—indeed, the Court can take judicial notice of them all.

However, other than its blanket objection to their inclusion, the City has not substantively

responded to these specific additions.

        Fourth, Plaintiff stated objections to the City’s proposed paragraphs where the facts

contained in those paragraphs are disputed or the evidence relied upon is not admissible.

As an example, the City often provided a characterization of a passage from an expert’s

deposition as undisputed, where that characterization is plainly disputed in the same expert’s

principal report in the case.

        For example, the City provided a drastically incomplete statement of Dr. Steblay’s nine-

paragraph description of her coding process as an agreed fact. See Ex. B at p. 105-107, ¶ 203




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(struck-through text from City stating that “Dr. Steblay’s report states that the data pertained to

information regarding witness identifications that were coded from investigation files and RD

files corresponding to homicide investigations from 1989-1998.”) (citations omitted). Plaintiff’s

modification remedies that deficiency by providing the full text of her report, which provides the

data on which she relied (“an Excel spreadsheet detailing 2786 Chicago lineups reported in Area

Five homicide files” from 1989-1998”), as well as a description of the information that was

coded; that she was provided access to all of the homicide case files associated with the lineups,

and discussed with Plaintiff’s counsel the effective coding method for her analyses; that “[t]he

process followed was a scientifically-sound coding system and more than sufficient to yield a

scientifically-sound dataset.”; and an extensive description of the basis for reliable coding. See

Ex. B at p. 105-107, ¶ 203 (added text). Plaintiff’s proposed additions state the description of her

coding process in full, without such severe reduction of her process. There is no possibility that

the City’s single line could stand as an “agreed” fact when so much has been omitted.

        As another example, the City states that Plaintiff’s expert Dr. Steblay “did not evaluate

whether any of the eyewitness identifications from the Dataset were fabricated because ‘[t]here’s

no way to know that from my data set – the data set.’” See Ex. F, Third Revised JSOF, at p. 1, ¶

252. Yet this selective portion of Steblay’s deposition is disputed in Steblay’s principal report,

which explains in detail how the overrepresentation of suspect identifications in the Chicago data

could be explained by the fabrication of evidence by police officers. See id. at ¶ 252 (Objection).

Moreover, the City’s description of Dr. Steblay’s deposition testimony is incomplete, and clearly

disputed by the very next question after the one cited by the City. In that response, she describes

her analysis of eyewitness identifications, including the important distinction between “suspect

identifications, filler identifications, [and] no identifications at all,” which assisted in her




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evaluation of false identifications. Id. Plaintiff would agree to the full excerpt of Steblay’s

deposition being used as agreed facts, but not the misleading initial portion cited by Defendants.

       Finally, the City included as proposed agreed facts contentions that were based solely on

the report of its own eyewitness identification expert, Dr. John Wixted, who rebuts the report of

Dr. Steblay, Plaintiff’s expert on the same subject. See Ex. B, Second Revised JSOF, at p. 133, ¶

262. As Plaintiff pointed out in objections, the contents of Dr. Wixted report on which the City

would like to rely are plainly contradicted by Dr. Steblay’s report and her rebuttal report. All of

these facts in the paragraphs discussing Defendants’ rebuttal expert are disputed, as one would

expect from a rebuttal expert in civil litigation. The City has not responded to that objection.

           2. Plaintiff’s Efforts Comply with the Court’s Orders and the Rules

       Plaintiff’s effort described in the last section was plainly a good faith and thorough

attempt to comply with this Court’s standing order in response to a proposed statement of agreed

facts that the City knew was not agreed in nearly every respect. Plaintiff completed the task of

explaining his position on an extremely tight timeline to ensure that this Court’s deadlines were

met. Even a cursory review of Plaintiff’s edits demonstrates that there is no basis for the City to

obtain a ruling that its highly disputed facts are admitted for purposes of summary judgment. The

City certainly cannot obtain such relief having refused to respond substantively to Plaintiff’s

contributions to the joint statement.

       None of the City’s arguments otherwise have merit. The City complains that Plaintiff sent

multiple versions of the same documents, but each new version was created by Plaintiff

specifically to address some grievance raised by the City. The City cannot now turn around and

argue that they were unprepared to receive these, particularly when they have even stated aloud

to Plaintiff on the conferral call that they had not taken any time to review them. Indeed, the City




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even recognizes in its Motion that the “substance and length” of Plaintiff’s added paragraphs

“has not changed.” See Dkt. 292-1 at 10, n.2. It defies reason that the City actually has a problem

reviewing the same substance when the paragraphs are re-numbered.

       The City also complains about the length of some of Plaintiff’s proposed agreed

paragraphs. Plaintiff is aware that the final version of the Parties’ agreed statement of undisputed

facts must have “short, numbered paragraphs,” see Local Rule 56.1(a). However, the City has yet

to offer any means of reducing Plaintiff’s additions, and has provided no substantive response to

these additions by Plaintiff, other than to reject Plaintiff’s proposal of removing interrogatory

references altogether. Plaintiff would of course endeavor to make the final version of the

Parties’ agreed statement of undisputed facts in compliance with the Local Rule, but could not do

so without any cooperation from the City in identifying what is undisputed and what is not.

Plaintiff has provided the City with the evidentiary context for what agreements are possible in

particular paragraphs, where the City’s proposal was not, but without a response to those

proposals, it is impossible for Plaintiff to cut the lengths of the paragraphs to a shorter length.

       The City next complains that there are certain paragraphs without citations. See Dkt. 292-

1 at 12. These paragraphs are: (1) Plaintiff’s statement that the issue of the suppression of

exculpatory evidence was fully litigated Rivera and Fields (see City’s reference to the City’s

Exhibits D/E, ¶¶4(d), and 5(e)); (2) Plaintiff’s explanation of claims in Rivera and Kluppelberg

(City’s reference to its Exhibits D/E, ¶¶ 5(b) and 6(a)); summary statements of this previous

litigation (¶ 9, citing cases fully referenced in the paragraphs directly above, and for ¶ 10,

directly below); and one paragraph with two citations to Dr. Steblay’s Expert Report (¶ 197).

When Plaintiff receives substantive responses to its objections and additions, he is glad to restate

those incorporated citations at the identified paragraphs.




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        Next, the City contends that Plaintiff has relied on inadmissible evidence. But Plaintiff

has relied on precisely the same categories of evidence that the City relied on in its draft:

Plaintiff’s complaint, Plaintiff’s interrogatory responses, the City’s written policies, Rule

30(b)(6) testimony, expert reports, and expert depositions. The City relied on each of these

categories of evidence as well, and for it to move to have facts admitted because Plaintiff

followed suit makes no sense.

       Addressing those categories, Plaintiff added language from the complaint (which indeed

are allegations) and his complete interrogatory response because the City cited those same

sources to suggest that Plaintiff’s Monell theories in this case are limited and to imply that

Plaintiff did not give the City notice of certain theories during discovery. If the City intends to

make the argument that the Monell theories are limited, then the Court should have before it the

information exchanged in discovery about those theories as an agreed fact, and not the City’s

truncated version. Moreover, as stated, in the interest of avoiding further debate, Plaintiff

proposed removing all paragraphs and references that rely on his complaint and interrogatory

responses if Defendants agreed to do the same, which was met with blanket refusal.

       With respect to the City’s complaint about Plaintiff’s reference to “jury instructions from

other unrelated cases, jury verdict summaries and judgments from other civil cases, [and] court

opinions from unrelated cases,” the City notably provides zero support for the proposition that

these items of evidence are inadmissible. Plaintiff refers to indisputable documents from cases in

which the City’s liability for the Monell theories at issues here has been adjudicated and where

the City has lost. Plaintiff includes these evidentiary materials to support his argument that the




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City should be precluded from re-litigating the Monell theories at issue here. Without a basis for

objecting to the inclusion of these materials, these materials are admissible. 3

       The City also takes issue with Plaintiff’s citations to expert reports. This objection is

troubling for two reasons. First, the City’s first draft of the proposed joint statement of facts is

littered with citations to expert reports. Why should it be that the City can cite this type of

evidence but not Plaintiff? Further, the City ignores that routinely expert reports are cited as part

of the summary judgment record when supported by a declaration from the expert that their

testimony at trial will reflect their report, as Rule 26(a)(2) contemplates. Treadwell v. McHenry

Cnty., Illinois, 193 F. Supp. 3d 900, 903 (N.D. Ill. 2016) (“[T]he majority rule is that a “belated

affidavit is sufficient to support the use of the report at the summary judgment stage.” (quoting

Harpold v. Ethicon Endo–Surgery, Inc., No. 1:06–cv–1666–DFH–DML, 2009 WL 688984, at *1

(S.D.Ind. Mar. 11, 2009) (Hamilton, J.)); but see Scott v. Edinburg, 346 F.3d 752, 759 (7th

Cir.2003) (“[The expert] report was introduced into the record without any supporting affidavit

verifying its authenticity and is therefore inadmissible and cannot be considered for purposes of

summary judgment.”) (emphasis added). The City’s contention that it can rely on expert reports

but Plaintiff cannot is unsupported by the law and lacks common sense.

       On this point, the City also complains that Plaintiff has disputed paragraphs where the

City relied upon excerpts of Plaintiff’s experts’ depositions (often misquoting or unfairly



3 The City also accuses Plaintiff of citing “to his own counsel’s responses to post-trial motions

from . . . unrelated cases to attempt to establish undisputed facts on the City’s policies in this
case.” Dkt. 292-1, Mot. at 10. But Plaintiff does not cite briefs. Instead, in the paragraphs
referenced, Plaintiff references transcripts of proceedings during which Brasfield, whose expert
report was reviewed and relied on by Plaintiff’s expert Tiderington, testified. See Ex. H,
Plaintiff’s Resp. to Def.’s Post-Trial Mot. in Rivera Ex. 9 (June 15, 2018 Tr. of Proceedings), at
2178-2179; Ex. I, Plaintiff’s Resp. to Def.’s Post-Trial Mot. in Rivera Ex. 10 (June 18, 2018 Tr.
of Proceedings), at 2438). Plaintiff has yet to receive an in-line response to its use of these
exhibits from the City.


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summarizing the testimony) that are at odds with their reports. Plaintiff has provided a lengthy

example above of how it has objected to the City’s adversarial, selective use of citations to

expert reports and depositions. The City cannot cross examine an expert during a deposition for

hours, pull a half-dozen excerpts from that deposition, and present those excerpts to this Court as

the expert’s undisputed opinions, when in fact many of them are clearly contradicted by the

content of the same expert’s reports. A snippet of an expert deposition contradicted by other

evidence does not create an undisputed fact for summary judgment; it identifies an area for cross

examination at trial. Nonetheless, Plaintiff proposed an agreement on this issue as well: he

agreed to remove all paragraphs and references that rely only on expert reports and depositions if

Defendants agree to do the same. Again, Defendants refused even to consider the proposal.

        Along the same lines, the City contends that Plaintiff’s objections indicating that one of

the City’s proposed paragraphs contradicts an expert report is also an improper objection.

Plaintiff does not see how its objection could be clearer on this point: if the City’s proposed

paragraph contradicts an expert’s report and testimony, then that paragraph contains disputed

information. That is precisely the type of objection contemplated by this process. Disputed

information cannot be considered in a joint statement of undisputed facts. 4 Expert testimony can

be tested and challenged at trial, allowing those disputes to be clarified before a jury.

        Finally, the City accuses Plaintiff of providing minimal information to support its

objections. See Dkt. 292-1, at 12. Yet for its representative examples that the City cites as

lacking support, Plaintiff already provided the City with modified objections, in response to the

City’s complaints:


        4 Likewise, Defendants argue that Plaintiff improperly objects to the City’s attempt to use its own
rebuttal expert to establish “undisputed” facts. See Dkt. 292-1, at 13. Yet, as Plaintiff’s objections make
clear, a rebuttal expert creates a disputed fact. The proposed agreed facts in the paragraphs discussing
Defendants’ rebuttal expert are disputed, as one would expect from a rebuttal expert in civil litigation.


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See Exhibit B, Second Revised JSOF, at p. 118, ¶ 217. Plaintiff also provided more fulsome

objections to the other paragraphs identified in the City’s Motion. Compare Dkt. 292, at 13 with

Ex. B at p. 120-121, ¶¶ 222-223 (corresponding to Exhibit D, First Revised JSOF, ¶¶ 218-219), 5

and Ex. F, Third Revised JSOF, at p. 1-4, ¶¶ 252-261 (corresponding to Ex. D, First Revised

JSOF at p.113-115, ¶¶ 248-257)). Plaintiff’s objections are fulsome, cite to evidence, and

explain Plaintiff’s reasoning. Plaintiff still has not received any substantive response to those

objections, despite multiple rounds of attempting to placate the City. If the City has not reviewed

the Plaintiff’s endeavors to work with the City to give them the information they need, and if it

refuses to respond substantively, then the City should not be bringing this dispute to the Court.

        The City has provided no legally sound argument for the adoption of its own facts as

admitted. It has provided no justification for its refusal to engage in the summary judgment

process. It has provided no substantive response or reason that Plaintiff’s contribution to the joint

statement of facts is insufficient, and Plaintiff’s submissions reflect otherwise. This Court should

deny the City’s motion.




        5 Plaintiff’s counsel indicated in correspondence with the City’s counsel that he was considering
supplementing his objection to paragraph 224 and 228 in the Second Revised Proposed JSOF, which
correspond to paragraphs 220 and 224 in the first revision of the JSOF. See Exhibit C (January 22, 2024
Correspondence from M. Gould to the City).


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           3. Plaintiff’s Contributions to the Individual Defendants’ Proposed Undisputed
              Facts

       Plaintiff has made the same good-faith and expeditious effort to respond to the individual

Defendants’ proposed joint statement of facts. When Plaintiff provided his response to the

individual Defendants on January 17, 2024, Dkt. 290-1, Plaintiff flagged that not only was the

proposed joint statement full of disputed facts, in many cases Defendants had attempted to

improperly circumvent an obvious dispute of fact by citing to only one side of the dispute.

       As with the City, Plaintiff offered corrections, additions, objections, and citations to

evidence. As with the City, there is no question that Plaintiff’s efforts complied with the Court’s

Standing Orders and Rules, and Defendants do not suggest otherwise.

       On Friday, January 19, the individual Defendants provided a response to Plaintiff’s

comments, and they announced for the first time that a motion regarding disagreements would

have to be filed on Monday. Dkt. 290-3 at 4. After providing their drafts nearly on Christmas

Eve, and after Plaintiff had responded in extreme detail in just two weeks of work, Defendants

announced that Plaintiff would have to reach agreement or not on the remainder of issues within

approximately one business day.

       Still Plaintiff attempted to collaborate, offering a time when his counsel was available on

Monday to meet-and-confer on outstanding issues and providing a new draft of the joint

statement in less than one business day, on the morning of Monday, January 22, which included

a number of agreements and compromises. Dkt. 290-4. Plaintiff flagged again that Defendants’

latest round of edits failed to solve the problem raised previously: in numerous places,

Defendants left comments that did not address the objection or dispute that Plaintiff raised and

simply made conclusory claims like “the fact is supported.” Ex. J at 3 (A. Swaminathan Jan. 22

Email). Defendants chose to simply cite to evidence on one side of a dispute, and then debate



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whether the citation is “supported,” ignoring the evidence Plaintiff cited that creates a dispute of

fact on the same material fact. Id.

       During the meet-and-confer at 4:30 p.m. on January 22, the parties agreed that Plaintiff

would look through all of Defendants’ latest round of edits to ensure that his objections were

incorporated and to see where the remaining disputes lay. Upon review, Plaintiff noticed that

Defendants had not incorporated some of his objections and citations. As such, Plaintiff had to

work through the document one paragraph at a time, and he informed Defendants that there was

not enough time to complete the effort on the night of January 22. Ex. J at 1-2 (A. Swaminathan

Jan. 22 Email). The individual Defendants then filed their motion.

       Plaintiff has done all he can to abide by this Court’s Standing Order and confer with

Defendants in good faith to craft a joint statement of undisputed material facts on the truncated

timeline that Defendants created by waiting until right before Christmas Eve to start the process.

The resulting inability to meet the Court’s final summary-judgment deadline is a problem of

Defendants’ own creation, and Defendants should bear the consequences of that problem.

Defendants ask for an additional week of time, but Plaintiff has no faith that this will be the last

request to extend the summary judgment deadline, or that the inherent problems with

Defendants’ proposed statement of fact (discussed below) can be addressed by the parties, and

then the Court, on this timeframe. Meanwhile, the Court has already ruled there would be no

further extensions. This Court’s Standing Order makes it Defendants’ responsibility to timely

organize their motions for summary judgment, they have not done so, and their motion for more

time should be denied.




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       C.      The Parties’ Conferrals on the Joint Statement of Fact Demonstrate That
               Defendants Have No Basis to Move for Summary Judgment

       Last but not least, it is worth emphasizing again that Defendants’ consistent delays and

non-participation in the summary judgment process have occurred in the context of a case where

there is no good-faith basis for Defendants to move for summary judgment in the first place. The

back and forth regarding Defendants’ joint statements of fact make that clear as day.

       In this case, Plaintiff contends that his wrongful conviction was caused by the

investigative misconduct of the individual Defendants and the policies and practices of the City

of Chicago. The principal individual Defendant, Guevara, is asserting his Fifth Amendment

rights in response to all questions. A motion for summary judgment filed by the Plaintiff on the

evidence suppressed in the case has already resulted in a ruling from this Court that there are

genuine issues of material fact that a jury must resolve. The remaining individual Defendants

have no basis to argue that their role in the misconduct, the investigation of Plaintiff, and his

wrongful conviction was so limited that there is no genuine dispute of fact about whether they

are liable for violating Plaintiff’s constitutional rights or Illinois law. The City of Chicago, as

discussed, has already lost at trial and on appeal the very same Monell theories at issue here, and

so it is either precluded from re-litigating those issues or those past results belie any contention

by the City that there are no genuine disputes of fact for trial. With all of this background, how

could it be possible that Defendants are justified in wasting months or years of the parties’ time

and the Court’s resources advancing an argument that there is nothing for a jury to resolve here.

       This reality is reflected in the Defendants’ approach to joint statements of fact.

Defendants’ proposed joint statements of fact are patently improper. They are full of

mischaracterizations of evidence and selective citation to the record. Most fundamentally, they

are full of disputed facts, including disputed facts that go to the most hotly contested issues in the



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case. As discussed, while Defendants attempt to sidestep this problem by citing to only the

evidence on one side of the dispute, that is not an appropriate approach to a joint statement of

undisputed facts, and it simply highlights why this is not a summary judgment case.

       To provide a few examples, the individual Defendants’ proposed statement of fact

includes the following:

       At his civil deposition in this case, Aby Gonzalez denied he identified someone as the
       offender on the night of the shooting and denied that he saw the shooting. (Supporting
       Evidence: Ex. 8 - Gonzalez Deposition 60:18-61:1, 75:4-8.)

Dkt. 290-1 at ¶25. This is one of the central issues in the case: whether eyewitness Aby Gonzalez

saw the shooting and identified an alternate suspect named Bryan Johns from a lineup on the

night of the shooting. Contrary to Defendants’ proposed statement of fact, there is a mountain of

evidence that he did. This includes the original police report from the scene, describing what

Aby Gonzalez saw: the shooter “pulled a gun and pointed it at him and stood there for several

seconds,” and then “fire two shots at Fred [the victim] . . . and ran past Gonzalez again. . . .” Ex.

K – RFC Johnson 52. And it includes the lineup report from the night of the shooting written by

Detective Erickson—discussed at length in the briefing on Plaintiff’s motion for summary

judgment against Guevara—which explicitly says Aby Gonzalez “identified the #2 Bryan Johns

as the offender.” Ex. L – RFC Johnson 27. This is enough to create a dispute, but there is much

more. See, e.g., Ex. M - Johnson 911-912 (Tepfer Report, detailing that Gonzalez told him that

he positively identified someone in a lineup on the night of the shooting); Ex. N - Tepfer Dep.

Vol. II at 88:17-90:20.

       Defendants try to avoid this obvious dispute and present the material fact about whether

Gonzalez saw the shooting and identified Johns as undisputed by simply rewriting the statement

of fact to focus only on the civil deposition testimony of Aby Gonzalez (“At his civil deposition




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in this case, Aby Gonzalez testified…”). In this way, Defendants ignore all of the evidence

above, which clearly demonstrates that there is a dispute of fact on this issue. This is improper. If

disputes could be circumvented in this way, then parties could assert that any issue in the case is

undisputed by simply citing to the evidence that favors them, defeating the entire purpose of this

Court’s procedures.

       Consider another example from Defendants’ proposed statement of fact:

       Ricardo Burgos testified that on June 12, 1991 at approximately 7:45, he was
       driving with a friend East down North Ave. At that time he saw a black guy
       wearing a T-shirt and gray pants walking North down Claremont with a gun in his
       hand. (Supporting Evidence: Ex. 5 - Criminal Trial Transcript (Ricardo Burgos) at
       JGS_JOHNSON 79 (A68:16-21), JGS_JOHNSON 80-81 (A69:22-70:7).) (Dkt.
       290-1 at ¶102)

       Mr. Burgos testified that he looked at this man who fired the gun for about forty-
       five seconds and could see his face. Mr. Burgos then identified Demetrius
       Johnson as the person he saw fire the gun that day. (Supporting Evidence: Ex. 5 -
       Criminal Trial Transcript (Ricardo Burgos) at JGS_JOHNSON 81 (A70:12-15),
       JGS_JOHNSON 85 (A74:3-14) (Dkt. 290-1 at ¶105 )

Dkt. 290-1 at ¶¶102, 105. Whether eyewitness Ricardo Burgos ever actually saw the shooter and

could make an identification of Plaintiff without the Defendant officers telling him who to pick

is another hotly disputed issue. Mr. Burgos’ criminal trial testimony is merely one piece of

evidence bearing on this issue. Others include the police report documenting his initial

conversation with police, his sworn declaration, and his deposition testimony. All of these

contradict Mr. Burgos’ trial testimony and create a dispute of fact. See, e.g., Ex. O –Police

Report of Ricardo Interview at RFC-Johnson 25 (Ricardo describes the shooter as a “male

Hispanic,” not a “black guy”); Ex. P - Declaration of Mr. Burgos at Johnson 000601- 000603 (he

was driving by in a moving car, did not see shooting, only saw shooter running away, did not see

shooter’s face); Ex. Q – Deposition of Mr. Burgos at 17:10-19:4, 38:5-14 (if the police said he

could have identified the shooter, that would have been false), 45. Defendants ignore all of this



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evidence, instead re-writing the statement of fact to focus only on the piece of evidence they like,

the criminal trial testimony.

       As discussed above, during the conferral process Plaintiff raised this problem, which

permeates Defendants’ proposed statements of fact. Defendants provided no response, simply

ignoring it and pressing ahead with their proposed statement. As these examples show, it is the

approach that Defendants have taken to the joint statements of fact that violates this Court’s

Standing Orders and the Local Rules. Indeed, Defendants’ approach conflicts with Rule 56 itself,

which requires the moving party to meet the initial burden of establishing that there is no genuine

dispute of material fact for a jury to decide on the claims or defenses. Carmichael v. Village of

Palatine, 605 F.3d 451, 460 (7th Cir. 2010).

       At the end of the day, Defendants have taken this approach to summary judgment

because it is the only approach available to Defendants. There are innumerable disputes of fact

on every material issue in this case. The case should go to trial instead of languishing further at

summary judgment.

                                         CONCLUSION

       For all of these reasons, Defendants’ motion for additional time should be denied, and the

City’s motion to deem facts admitted should be denied. In a case like this one, as this process

demonstrates amply, summary judgment is a waste of the Court’s and the parties’ time and

resources, and the case should proceed directly to trial.

       To the extent that Defendants truly believe that they have a good faith basis to move for

summary judgment on a truly agreed set of facts, they should be ordered to do so by the final

deadline of January 31, 2024. Indeed, there are a set of facts from each joint statement on which

the parties have reached agreement, and as Plaintiff has expressed to Defendants repeatedly,




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Plaintiff remains willing to continue discussing the proposed joint statements of fact to see if any

additional agreements can be reached. But having failed to provide a proposed joint statement of

fact with sufficient time for the parties to meaningfully confer and for the Court to adjudicate

disputes, it is only those agreed facts on which Defendants should be permitted to move by the

January 31, 2024 deadline.


January 23, 2024                                      RESPECTFULLY SUBMITTED,
                                                      DEMETRIUS JOHNSON

                                              BY:     /s/Alyssa Martinez

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